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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION, )
800 K Street N.W., Suite 1000                  )
Washington, D.C. 20001,                        )
                                               )
             Plaintiff,                        )
                                               )           Case No. 1:25-cv-381
             v.                                )
                                               )
RUSSELL VOUGHT, in his official capacity       )
as Acting Director of the                      )           COMPLAINT FOR
Consumer Financial Protection Bureau,          )           DECLARATORY AND
1700 G Street, N.W.                            )           INJUNCTIVE RELIEF
Washington, D.C. 20552                         )
                                               )
                                               )
             Defendant.                        )
______________________________________________ )


         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                 INTRODUCTION


      Plaintiff National Treasury Employees Union (NTEU) represents employees

across thirty-seven federal agencies and departments, including all bargaining unit

employees in the Consumer Financial Protection Bureau (CFPB).

      NTEU brings this action to challenge the Executive Branch’s ongoing effort to

dismantle the CFPB. Congress created the CFPB in response to a financial crisis

and assigned the CFPB its critical mission of protecting the American consumer.

The efforts of Defendant Russell Vought, the CFPB’s Acting Director, to bring the

CFPB’s statutorily prescribed work to a halt violate separation of powers principles.
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                                      JURISDICTION

        1.        This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

                                           VENUE

        2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e).

                                          PARTIES

        3.        Plaintiff NTEU is an unincorporated association with its principal

place of business at 800 K Street, N.W., Washington, D.C. 20001. NTEU is,

pursuant to Title VII of the Civil Service Reform Act, Public Law No. 95-454, 92

Stat. 1111, the exclusive bargaining representative of employees in thirty-seven

federal departments and agencies, including the CFPB.

        4.        Defendant Russell Vought is head of the Office of Management and

Budget and the Acting Director of the CFPB.

                                 STATEMENT OF CLAIMS

   I.        Congress’s Significant Power to Shape the Executive Branch

             A.      Congress’s Plenary Authority over the Existence, Mission, and
                     Funding of Executive Agencies

        5.        The Framers intended for Congress to be the most powerful branch of

the federal government. The legislative power that the Founders envisioned

“necessarily predominates” (The Federalist No. 51 (J. Madison)) and has a

“tendency . . . to absorb every other” (The Federalist No. 71 (A. Hamilton)).

        6.        Congress can create or destroy executive branch agencies and dictate

their missions. “To Congress under its legislative power is given the establishment

of offices … [and] the determination of their functions and jurisdiction.” Myers v.
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United States, 272 U.S. 52, 129 (1926). Accord Buckley v. Valeo, 424 U.S. 1, 138

(1976) (discussing Congress’s ability to create or remove federal agencies through

the Necessary & Proper Clause). Congress thus “control[s]” the very “existence of

executive offices.” Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S.

477, 500 (2010).

           B.      Congress’s Creation of the CFPB to Protect the American Public

      7.        Congress created the CFPB after the great recession of 2007-08.

Congress assigned the CFPB the mission of supporting and protecting American

consumers in the financial marketplace. To fulfill its statutory mission, CFPB

monitors financial markets for risks to consumers; enforces consumer finance law;

investigates consumer complaints; and writes rules to protect consumers from

unfair, deceptive, or abusive practices in the financial sector. Pub. L. 111–203

(2010). See https://www.consumerfinance.gov/about-us/the-bureau/.

      8.        The CFPB has supervisory authority over depository institutions with

$10 billion or more in assets such as banks, thrifts, and credits unions; and over

non-depository entities such as mortgage originators and servicers, payday lenders,

and private student lenders. CFPB also supervises consumer reporting, consumer

debt collection and foreclosure, student loan servicing, international money

transfer, and automobile financing. See

https://www.consumerfinance.gov/compliance/supervision-

examinations/institutions/.




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         9.      The CFPB’s workforce has worked tirelessly to do the job that

Congress assigned to it. As of December 2024, CFPB has obtained more than $21

billion in monetary compensation, principal reductions, cancelled debts, and other

consumer relief as part of its enforcement and supervisory work. Through its

enforcement activities, CFPB has collected approximately $363 million associated

with harm to American servicemembers and veterans. And CFPB has collected

more than $5 billion from companies and individuals that violated the law, which

the Bureau deposits into a victim relief fund. See

https://www.consumerfinance.gov/about-us/the-bureau/.

   II.         The Trump Administration’s Attempts to Dismantle the CFPB

         10.     On February 7, 2025, Elon Musk “posted ‘CFPB RIP’ with a tombstone

emoji on his social media site X [ ], raising the prospect that the consumer

protection agency could be the next U.S. Agency for International Development,

which he has said should ‘die.’” Holly Otterbein and Katy O’Donnell, “‘CFPB RIP’:

Elon Musk is Already Descending on His Next Target,” Politico.com,

https://www.politico.com/news/2025/02/07/elon-musk-team-cfpb-00203119.

         11.     In a post on X on February 8, 2025, Defendant Vought “said he had

notified the Federal Reserve that the CFPB . . . will not take ‘its next draw of

unappropriated funding,’ saying the funding ‘is not “reasonably necessary” to carry

out its duties.’” Sarah Fortinsky, “Vought Seeks to Halt Action at CFPB,” The

Hill.com, https://thehill.com/homenews/administration/5134732-cfpb-budget-russia-

vought/.


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          12.     Defendant Vought has also directed the CFPB workforce “to ‘cease all

supervision and examination activity,’ ‘cease all stakeholder engagement,’ pause all

pending investigations, not issue any public communications and pause

‘enforcement actions.’” Id.

          13.     Defendant Vought has also ordered that “the agency’s Washington

headquarters [] be closed for the coming week.” Douglas Gillison, “Consumer

Protection Agency CFPB Neutralized by Trump’s New Chief,” Reuters (Feb. 9, 2025)

https://www.reuters.com/world/us/trumps-acting-cfpb-chief-halts-all-supervision-

companies-2025-02-09/.

          14.     CFPB employees have been placed in questionable status as they have

been directed not to work but they have also not been formally placed on any

authorized type of leave.

          15.     It is substantially likely that these initial directives are a precursor to

a purge of CFPB’s workforce, which is now prohibited from fulfilling the agency’s

statutory mission.

    III.        The Effect of Defendant’s Attempt to Dismantle the CFPB on NTEU and
                Its Members

          16.     NTEU brings this action in its associational capacity on behalf of its

NTEU members at the CFPB, as well as in its institutional capacity on behalf of

itself.

          17.     NTEU members at the CFPB are no longer able to do the supervision

and enforcement work that they came to the CFPB to do for the American people.

NTEU members at the CFPB are employed in a variety of professions. NTEU


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members Jasmine Hardy and Nelle Rohlich are employed as an Examiner and

Enforcement Attorney, respectively. Because of Defendant Vought’s directive,

NTEU members like Ms. Hardy and Ms. Rohlich cannot perform their duties

examining financial institutions, investigating financial institutions, and initiating

enforcement actions. Because Defendant Vought is preventing them and other

NTEU members from doing their work for the CFPB and refusing to take the

CFPB’s next draw of funding, it is substantially likely that they will lose their jobs

and suffer financial harm.

      18.    Because of Defendant Vought’s directive and his shuttering of the

Bureau’s headquarters for at least a week, CFPB employees are apprehensive about

their employment and their futures.

      19.    NTEU also brings this action in its institutional capacity. There is a

substantial likelihood of reductions to the CFPB workforce because Defendant

Vought is preventing employees from doing their statutorily mandated work and

refusing to use additional funds that are available to the CFPB. Those reductions in

the CFPB’s workforce will very likely include NTEU’s members and, in turn,

decrease NTEU’s dues revenue from its members at the CFPB. Even if these

individuals remain NTEU members as former federal employees after they are

fired, NTEU will lose money because their dues rates will be significantly reduced.

      20.    NTEU is expending significant time and resources responding to the

many concerns that its CFPB members are raising about their future and the future

of the Bureau.



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                                   CAUSE OF ACTION

Count I: The Executive Branch’s actions to dismantle CFPB violate separation of
powers principles.

      21.      Plaintiff reasserts the allegations contained in paragraphs 1 through

20 of this complaint as though contained herein.

      22.      Congress created the CFPB and assigned it a critical portfolio.

      23.      Defendant Vought’s decision to prevent the CFPB from drawing down

more funding and ordering the CFPB’s workforce to cease all supervision and

examination activity reflects an unlawful attempt to thwart Congress’s decision to

create the CFPB to protect American consumers.

      24.      Defendant Vought’s actions thus violate separation of powers

principles because they undermine Congress’s authority to set and fund the

missions of the CFPB.

                               REQUEST FOR RELIEF

      Wherefore, Plaintiff requests judgment against Defendant Vought:

      A.       Declaring that Defendant Vought’s directive to the CFPB’s employees

to stop their supervision and enforcement work is unlawful;

      B.       Enjoin Defendant Vought from further attempts to halt the CFPB’s

supervision and enforcement work;

      C.       Ordering Defendant Vought to pay reasonable attorneys’ fees and

costs; and

      D.       Ordering such other and further relief as the Court deems just and

proper.


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                                  Respectfully submitted,
                                  /s/ Julie M. Wilson
                                  ___________________________
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                                  /s/ Paras N. Shah
                                  ___________________________
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                                  /s/ Allison C. Giles
                                  ___________________________
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February 9, 2025                  Attorneys for Plaintiff NTEU




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